                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       CIVIL ACTION NO.: 1:21-cv-632


PAMELA WARDEN,                  )
                                )
                 Plaintiff,     )
                                )               STIPULATION OF DISMISSAL
      v.                        )
                                )
HARTFORD LIFE AND ACCIDENT )
INSURANCE COMPANY,              )
                                )
                 Defendant.     )
_______________________________


      It is hereby stipulated by all parties that this lawsuit be dismissed, with

prejudice, as against Defendant pursuant to Rule 4l(a) of the Federal Rules of Civil

Procedure. Each party shall bear its own fees and costs.



      Jointly submitted this the 10th day of February, 2022.


/s/ Gemma L. Saluta (with permission)       /s/ John K. Koontz
GEMMA L. SALUTA                             JOHN K. KOONTZ (22156)
WOMBLE BOND DICKINSON, LLP                  DAGGETT SHULER,
One West Fourth Street                      ATTORNEYS AT LAW
Winston-Salem, NC 27101                     2140 Country Club Road
Telephone: (336) 721-3600                   Winston-Salem, NC 27104
Facsimile: (336) 721-3660                   Telephone: (336) 724-1234
Email: Gemma.Saluta@wbd-us.com              Facsimile: (336) 724-6111
                                            E-mail: jkoontz@daggettshulerlaw.com
Attorneys for Defendant
                                            Attorneys for Plaintiff

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                            CERTIFICATE OF SERVICE

      This is to certify that I have this day filed the foregoing STIPULATION OF

DISMISSAL using the CM/ECF system, which will automatically give notice by

electronic means to the following attorneys of record:


  GEMMA L. SALUTA
  WOMBLE BOND DICKINSON, LLP
  One West Fourth Street
  Winston-Salem, NC 27101
  Telephone: (336) 721-3600
  Facsimile: (336) 721-3660
  Email: Gemma.Saluta@wbd-us.com

  Attorneys for Defendant



      This the 10th day of February, 2022.


                                                 /s/ John K. Koontz
                                                 JOHN K. KOONTZ (22156)
                                                 Attorneys for Plaintiff
                                                 DAGGETT SHULER,
                                                 ATTORNEYS AT LAW
                                                 2140 Country Club Road
                                                 Winston-Salem, NC 27104
                                                 Telephone: (336) 724-1234
                                                 Facsimile: (336) 724-6111
                                                 E-mail: jkoontz@daggettshulerlaw.com




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